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UNITED STATES OF AMERICA                    :
                                            :
       v.                                   :      Criminal No. 1:21-cr-286
                                            :
GRADY DOUGLAS OWENS, and                    :      Honorable Chief Judge Beryl A. Howell
JASON DOUGLAS OWENS,                        :
                                            :
                                            :
                Defendants.                 :

   NOTICE OF ERRATTA TO THE UNITED STATES’ REPORT AND POSITION
                        REGARDING PUBLIC
  RELEASE OF PHOTO AND VIDEO EVIDENCE RE: THE OWENS DEFENDANTS

       The United States made available, electronically, video and photo evidence in preparation

for the plea hearings and sentencings of the defendants in the above referenced matter. The

Government erroneously requested this Court not release any Capitol CCTV footage that may be

used or relied upon during future hearings in this matter. The government retracts its previous

position and does not oppose the public release of CCTV used in the above referenced matter.


                                            Respectfully submitted,

                                            MATTHEW M. GRAVES
                                            United States Attorney
                                            D.C. Bar No. 481052

                                    By:           /s/
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on November 9, 2022, I caused a copy of the foregoing motion to be

served on counsel of record via electronic filing.

                                                    /s/
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